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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

RONNIE SELBY,

                    Plaintiff,
v.                                                            Case No. 6:17-cv-642-Orl-37GJK

CREDIT ONE BANK, N.A.,

                    Defendant.


                                         ORDER

       This matter is before the Court on Defendant, Credit One Bank, N.A.’s Motion to

Dismiss and Compel Arbitration and Incorporated Memorandum of Law (Doc. 15); and

Plaintiff’s Notice of Non-Objection to Defendant’s Motion to Compel Arbitration

(Doc. 16).

       Upon consideration, IT IS ORDERED that:

       (1)   Defendant, Credit One Bank, N.A.’s Motion to Dismiss and Compel

             Arbitration and Incorporated Memorandum of Law (Doc. 15) is

             GRANTED.

       (2)   In accordance with the terms of the parties’ arbitration agreement

             (Doc. 15-1, pp. 17–18), the parties are DIRECTED to arbitrate the claims

             asserted by Plaintiff in this action (Doc. 1).

       (3)   This action is hereby STAYED pending resolution of the arbitration

             proceedings.



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      (4)    On or before September 1, 2017, the parties also are DIRECTED to jointly

             file a notice with this Court concerning the status of the arbitration. The

             parties are further DIRECTED to jointly file additional notices with the

             Court every 90 days until the stay is lifted.

      (5)    The Clerk of the Court is directed to ADMINISTRATIVELY CLOSE this

             action pending further Order of the Court.

      DONE AND ORDERED in Orlando, Florida, this 10th day of July, 2017.




Copies to:

Counsel of Record




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